                    Case 23-12317            Doc 1       Filed 09/17/23 Entered 09/17/23 18:39:21                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Express Electric Supply, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  11535 W. 183rd Place, Unit 108
                                  Orland Park, IL 60467
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Will                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Express Electric Supply, LLC                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Express Electric Supply, LLC                                                                    Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Express Electric Supply, LLC                                                Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Express Electric Supply, LLC                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 17, 2023
                                                  MM / DD / YYYY


                             X /s/ Rodney J. Thompson                                                     Rodney J. Thompson
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X /s/ Ariel Weissberg                                                         Date September 17, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ariel Weissberg 03125591
                                 Printed name

                                 Weissberg and Associates, Ltd.
                                 Firm name

                                 125 South Wacker Drive
                                 Suite 300
                                 Chicago, IL 60606
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     312-663-0004                  Email address      ariel@weissberglaw.com

                                 03125591 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Express Electric Supply, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 17, 2023              X /s/ Rodney J. Thompson
                                                           Signature of individual signing on behalf of debtor

                                                            Rodney J. Thompson
                                                            Printed name

                                                            Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Express Electric Supply, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                       Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Anixter, Inc.                                                                                                                                                 $118,764.00
 P.O. Box 847428
 Dallas, TX
 75284-7428
 Black Box Network                                                                                                                                               $26,820.00
 Services
 Po Box 639875
 Cincinnati, OH
 45263-9875
 Bradford Systems                                                                                                                                                $19,000.00
 945 N. Oaklawn Ave.
 Elmhurst, IL 60126
 Ced/Efengee                                                                                                                                                   $873,611.47
 Electrical Supply
 Po Box 850656
 Minneapolis, MN
 55485-0656
 Chicago                                                                                                                                                       $101,475.30
 Switchboard
 470 W. Wrightwood
 Ave.
 Elmhurst, IL 60126
 Communications                                                                                                                                                  $48,000.00
 Supply Corp.
 2301 Patriot Blvd.
 Glenview, IL
 60026-8020
 Cummins Inc.                                                                                                                                                    $36,212.00
 1600 Buerkle Rd.
 White Bear Lake,
 MN 55110
 Delta Controls                                                                                                                                                  $53,004.01
 17850-56th Ave
 Surrey, BC Canada
 Eaton Corporation                                                                                                                                             $278,107.50
 9085 Network Place
 Chicago, IL
 60673-1290

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Express Electric Supply, LLC                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Flex Capital LLC                                                                                                                                                $22,590.00
 (Stanton Enterpris
 106 Stephen St.
 Suite 202
 Lemont, IL 60439
 Gus Berthold                                                                                                                                                    $70,404.00
 Electric Co.
 1900 W Carroll Ave.
 Chicago, IL 60612
 Interstate                                                                                                                                                      $23,813.50
 Powersystems NW
 7244 Po Box 1450
 Minneapolis, MN
 55485-7244
 Joseph Shake                                        Outstanding                                                                                                 $21,200.00
 2180 Clearview Dr.                                  Payroll
 Hollister
 Hollister, CA 95023
 Rodney Thompson                                     Outstanding                                                                                                 $26,923.04
 17348 Highwood Dr.                                  Payroll
 Orland Park, IL
 60467
 Ross Video Inc.                                                                                                                                                 $72,250.00
 808 Commerce Park
 Ogdensburg, NY
 13669
 Sunrise Electric                                                                                                                                              $669,380.97
 Supply
 130 S Addison Rd
 Addison, IL 60101
 Superfleet                                                                                                                                                      $15,000.00
 (Mastercard)
 P.O. Box 70995
 Charlotte, NC 28272
 Thompson                                                                                                                                                        $47,500.00
 Electronics
 905 S Bosch Road
 Peoria, IL 61607
 Viking Electric                                                                                                                                                 $35,712.26
 Po Box 856832
 Minneapolis, MN
 55485-6832
 Zonatherm                                                                                                                                                       $45,660.00
 Products, Inc
 875 Busch Parkway
 Buffalo Grove, IL
 60089




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Fill in this information to identify the case:

Debtor name         Express Electric Supply, LLC

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Apex Funding Source LLC                      Describe debtor's property that is subject to a lien                   $68,232.00                 Unknown
      Creditor's Name                              Accounts Receivable of Debtor
      7 Sherwood Dr.
      Lakewood, NJ 08701
      Creditor's mailing address                   Describe the lien
                                                   Blanket Lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Avion Funding                                Describe debtor's property that is subject to a lien                   $42,683.32                 Unknown
      Creditor's Name

      200 Central Ave.
      Farmingdale, NJ 07727
      Creditor's mailing address                   Describe the lien
                                                   Blanket Lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 7
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Debtor      Express Electric Supply, LLC                                                          Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Byzfunder                                   Describe debtor's property that is subject to a lien                     $59,987.50     Unknown
      Creditor's Name

      530 7th Ave. Suite 505
      New York, NY 10018
      Creditor's mailing address                  Describe the lien
                                                  Blanket Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   CloudFund LLC                               Describe debtor's property that is subject to a lien                     $42,486.00     Unknown
      Creditor's Name
      400 Rella Blvd., Suit
      165-101
      Suffern, NY 10901
      Creditor's mailing address                  Describe the lien
                                                  Blanket Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Delta Capital                               Describe debtor's property that is subject to a lien                     $42,486.00     Unknown
      Creditor's Name

      2802 N. 29th Ave.
      Hollywood, FL 33020
      Creditor's mailing address                  Describe the lien
                                                  Blanket Liens
                                                  Is the creditor an insider or related party?
                                                     No


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 7
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Debtor      Express Electric Supply, LLC                                                          Case number (if known)
            Name

      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   Everest                                     Describe debtor's property that is subject to a lien                     $61,353.70     Unknown
      Creditor's Name

      102 W. 38th St. 6th Floor
      New York, NY 10018
      Creditor's mailing address                  Describe the lien
                                                  Blanket Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   First Midwest Bank                          Describe debtor's property that is subject to a lien                     Unknown        Unknown
      Creditor's Name

      One Pierce Place
      Itasca, IL 60143
      Creditor's mailing address                  Describe the lien
                                                  Blanket Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.8   Fox Capital Group, Inc.                     Describe debtor's property that is subject to a lien                     $91,985.41     Unknown


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3 of 7
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Debtor      Express Electric Supply, LLC                                                          Case number (if known)
            Name

      Creditor's Name                             Accounts and Proceeds from Debtor
      140 Broadway, 46th Floor
      New York, NY 10005
      Creditor's mailing address                  Describe the lien
                                                  Blanket Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.9   Headway Capital                             Describe debtor's property that is subject to a lien                      $69,309.48     Unknown
      Creditor's Name
      175 W Jackson Blvd Suite
      1000
      Chicago, IL 60604
      Creditor's mailing address                  Describe the lien
                                                  Blanket Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
0     Kapitus                                     Describe debtor's property that is subject to a lien                     $236,729.60     Unknown
      Creditor's Name

      120 W 45th St.
      New York, NY 10036
      Creditor's mailing address                  Describe the lien
                                                  Blanket Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 4 of 7
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Debtor      Express Electric Supply, LLC                                                          Case number (if known)
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
1     Leaf Capital Funding, LLC                   Describe debtor's property that is subject to a lien                     $109,953.26     Unknown
      Creditor's Name

      2005 Market St., 14th Floor
      Philadelphia, PA 19103
      Creditor's mailing address                  Describe the lien
                                                  Blanket Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
2     Mason Capital Group                         Describe debtor's property that is subject to a lien                      $43,000.00     Unknown
      Creditor's Name

      560 Sylvan Ave. Ste. 3020
      Englewood Cliffs, NJ 07632
      Creditor's mailing address                  Describe the lien
                                                  Blanket Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Old Plank Trail Community
3     Bank, N.A                                   Describe debtor's property that is subject to a lien                 $1,600,000.00       Unknown
      Creditor's Name

      280 VETERANS PARKWAY
      New Lenox, IL 60451
      Creditor's mailing address                  Describe the lien

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 5 of 7
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Debtor      Express Electric Supply, LLC                                                          Case number (if known)
            Name

                                                  Blanket Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Old Plank Trail Community
4     Bank, N.A                                   Describe debtor's property that is subject to a lien                     $145,165.00     Unknown
      Creditor's Name

      280 VETERANS PARKWAY
      New Lenox, IL 60451
      Creditor's mailing address                  Describe the lien
                                                  Line of Credit
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
5     OnDeck Capital, inc.                        Describe debtor's property that is subject to a lien                     $164,394.00     Unknown
      Creditor's Name
      4700 W Daybreak Pkwy.
      Suite 200
      South Jordan, UT 84009
      Creditor's mailing address                  Describe the lien
                                                  Blanket Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor       Express Electric Supply, LLC                                                          Case number (if known)
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.1    U.S. Small Business
6      Administration                              Describe debtor's property that is subject to a lien                     $450,000.00              Unknown
       Creditor's Name

       P.O. Box 3918
       Portland, OR 97208
       Creditor's mailing address                  Describe the lien
                                                   Blanket Lien
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $3,227,765.2
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       7

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Lieberman and Klestzick LLP
        1915 Hollywood Blcvd., Suite 200B                                                                    Line   2.8
        Hollywood, FL 33020

        Yehuda Jay Klein, Esq.
        350 Fifth Avenue, 59th Floor                                                                         Line   2.1
        New York, NY 10118




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 7 of 7
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Fill in this information to identify the case:

Debtor name        Express Electric Supply, LLC

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $21,200.00          $15,150.00
          Joseph Shake                                        Check all that apply.
          2180 Clearview Dr. Hollister                           Contingent
          Hollister, CA 95023                                    Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Outstanding Payroll
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $2,692.30         $2,692.30
          Robert Yanowsky                                     Check all that apply.
          15230 W 139th St.                                      Contingent
          Dolton, IL 60419                                       Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Outstanding Payroll
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 7
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Debtor       Express Electric Supply, LLC                                                               Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $26,923.04    $15,150.00
          Rodney Thompson                                      Check all that apply.
          17348 Highwood Dr.                                      Contingent
          Orland Park, IL 60467                                   Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Outstanding Payroll
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $995.03
          Advance Electric Supply                                                Contingent
          263 N. Oakley Blvd.                                                    Unliquidated
          Chicago, IL 60612                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $13,000.00
          American Express                                                       Contingent
          PO BOX 96001                                                           Unliquidated
          Los Angeles, CA 90096                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $118,764.00
          Anixter, Inc.                                                          Contingent
          P.O. Box 847428                                                        Unliquidated
          Dallas, TX 75284-7428                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,743.69
          At&T Mobility                                                          Contingent
          P.O. Box 6463                                                          Unliquidated
          Carol Stream, IL 60197                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $26,820.00
          Black Box Network Services                                             Contingent
          Po Box 639875                                                          Unliquidated
          Cincinnati, OH 45263-9875                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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            Name

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,362.00
         BlueCross of Illinois                                        Contingent
         300 East Randolph Street                                     Unliquidated
         Chicago, IL 60601                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,970.00
         Boru Inc.                                                    Contingent
         4123 N. LeClaire                                             Unliquidated
         Chicago, IL 60641                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $19,000.00
         Bradford Systems                                             Contingent
         945 N. Oaklawn Ave.                                          Unliquidated
         Elmhurst, IL 60126                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $873,611.47
         Ced/Efengee Electrical Supply                                Contingent
         Po Box 850656                                                Unliquidated
         Minneapolis, MN 55485-0656                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $101,475.30
         Chicago Switchboard                                          Contingent
         470 W. Wrightwood Ave.                                       Unliquidated
         Elmhurst, IL 60126                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $467.93
         Comcast                                                      Contingent
         P.O. Box 3001                                                Unliquidated
         Southeastern, PA 19398                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $48,000.00
         Communications Supply Corp.                                  Contingent
         2301 Patriot Blvd.                                           Unliquidated
         Glenview, IL 60026-8020                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $805.14
         Connexion                                                    Contingent
         1700 Leider Lane,                                            Unliquidated
         Buffalo Grove, IL 60089                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $36,212.00
         Cummins Inc.                                                 Contingent
         1600 Buerkle Rd.                                             Unliquidated
         White Bear Lake, MN 55110                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $53,004.01
         Delta Controls                                               Contingent
         17850-56th Ave                                               Unliquidated
         Surrey, BC Canada                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,652.24
         Dept Of Treasury                                             Contingent
         P.O. Box 804521                                              Unliquidated
         Cincinnati, OH 45280                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $278,107.50
         Eaton Corporation                                            Contingent
         9085 Network Place                                           Unliquidated
         Chicago, IL 60673-1290                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $22,590.00
         Flex Capital LLC (Stanton Enterpris                          Contingent
         106 Stephen St. Suite 202                                    Unliquidated
         Lemont, IL 60439                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $70,404.00
         Gus Berthold Electric Co.                                    Contingent
         1900 W Carroll Ave.                                          Unliquidated
         Chicago, IL 60612                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $262.26
         Honeywell Building Solutions                                 Contingent
         95 E. Algonquin Road, Building D                             Unliquidated
         Des Plaines, IL 60017                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $23,813.50
         Interstate Powersystems NW                                   Contingent
         7244 Po Box 1450                                             Unliquidated
         Minneapolis, MN 55485-7244                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,148.00
         Maddock Industries Inc                                       Contingent
         601a Country Club Drive                                      Unliquidated
         Bensenville, IL 60106                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,254.00
         Merceds-Benz Financial Services                              Contingent
         P.O. Box 5209                                                Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $958.95
         Netsphere                                                    Contingent
         750 W Lake Cook Rd., Suite 158                               Unliquidated
         Buffalo Grove, IL 60089                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $72,250.00
         Ross Video Inc.                                              Contingent
         808 Commerce Park                                            Unliquidated
         Ogdensburg, NY 13669                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $984.00
         Selective Insurance                                          Contingent
         P.O. Box 371468                                              Unliquidated
         Pittsburgh, PA 15250                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $546.10
         Steiner Electric Co.                                         Contingent
         2665 Paysphere Circle                                        Unliquidated
         Chicago, IL 60674-0026                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $669,380.97
         Sunrise Electric Supply                                      Contingent
         130 S Addison Rd                                             Unliquidated
         Addison, IL 60101                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $15,000.00
         Superfleet (Mastercard)                                      Contingent
         P.O. Box 70995                                               Unliquidated
         Charlotte, NC 28272                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $14,954.82
         Thomas Sales Inc.                                            Contingent
         7200 W 66th, Suite A                                         Unliquidated
         Chicago, IL 60638                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $47,500.00
         Thompson Electronics                                         Contingent
         905 S Bosch Road                                             Unliquidated
         Peoria, IL 61607                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $35,712.26
         Viking Electric                                              Contingent
         Po Box 856832                                                Unliquidated
         Minneapolis, MN 55485-6832                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,918.73
         Waste Management                                             Contingent
         P.O. Box 4648                                                Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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             Name

3.34      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $45,660.00
          Zonatherm Products, Inc                                              Contingent
          875 Busch Parkway                                                    Unliquidated
          Buffalo Grove, IL 60089                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                       50,815.34
5b. Total claims from Part 2                                                                           5b.   +    $                    2,616,327.90

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        2,667,143.24




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 7
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                                                              Northern District of Illinois
 In re       Express Electric Supply, LLC                                                                     Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 25,000.00
             Prior to the filing of this statement I have received                                        $                 25,000.00
             Balance Due                                                                                  $                        0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):      Jamerson & Bauwens ($14,876.64).
                                                           Cynthia Thompson ($11,861.36)

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 17, 2023                                                       /s/ Ariel Weissberg
     Date                                                                     Ariel Weissberg 03125591
                                                                              Signature of Attorney
                                                                              Weissberg and Associates, Ltd.
                                                                              125 South Wacker Drive
                                                                              Suite 300
                                                                              Chicago, IL 60606
                                                                              312-663-0004 Fax: 312-663-1514
                                                                              ariel@weissberglaw.com
                                                                              Name of law firm
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                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder

-NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date September 17, 2023                                                  Signature /s/ Rodney J. Thompson
                                                                                        Rodney J. Thompson

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                  VERIFICATION OF CREDITOR MATRIX

                                                               Number of Creditors:                             55




        The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
        (our) knowledge.




Date:   September 17, 2023                    /s/ Rodney J. Thompson
                                              Rodney J. Thompson/Manager
                                              Signer/Title
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                      Advance Electric Supply
                      263 N. Oakley Blvd.
                      Chicago, IL 60612


                      American Express
                      PO BOX 96001
                      Los Angeles, CA 90096


                      Anixter, Inc.
                      P.O. Box 847428
                      Dallas, TX 75284-7428


                      Apex Funding Source LLC
                      7 Sherwood Dr.
                      Lakewood, NJ 08701


                      At&T Mobility
                      P.O. Box 6463
                      Carol Stream, IL 60197


                      Avion Funding
                      200 Central Ave.
                      Farmingdale, NJ 07727


                      Black Box Network Services
                      Po Box 639875
                      Cincinnati, OH 45263-9875


                      BlueCross of Illinois
                      300 East Randolph Street
                      Chicago, IL 60601


                      Boru Inc.
                      4123 N. LeClaire
                      Chicago, IL 60641


                      Bradford Systems
                      945 N. Oaklawn Ave.
                      Elmhurst, IL 60126


                      Byzfunder
                      530 7th Ave. Suite 505
                      New York, NY 10018
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                  Ced/Efengee Electrical Supply
                  Po Box 850656
                  Minneapolis, MN 55485-0656


                  Chicago Switchboard
                  470 W. Wrightwood Ave.
                  Elmhurst, IL 60126


                  CloudFund LLC
                  400 Rella Blvd., Suit 165-101
                  Suffern, NY 10901


                  Comcast
                  P.O. Box 3001
                  Southeastern, PA 19398


                  Communications Supply Corp.
                  2301 Patriot Blvd.
                  Glenview, IL 60026-8020


                  Connexion
                  1700 Leider Lane,
                  Buffalo Grove, IL 60089


                  Cummins Inc.
                  1600 Buerkle Rd.
                  White Bear Lake, MN 55110


                  Delta Capital
                   2802 N. 29th Ave.
                  Hollywood, FL 33020


                  Delta Controls
                  17850-56th Ave
                  Surrey, BC Canada


                  Dept Of Treasury
                  P.O. Box 804521
                  Cincinnati, OH 45280


                  Eaton Corporation
                  9085 Network Place
                  Chicago, IL 60673-1290
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                  Everest
                  102 W. 38th St. 6th Floor
                  New York, NY 10018


                  First Midwest Bank
                  One Pierce Place
                  Itasca, IL 60143


                  Flex Capital LLC (Stanton Enterpris
                  106 Stephen St. Suite 202
                  Lemont, IL 60439


                  Fox Capital Group, Inc.
                  140 Broadway, 46th Floor
                  New York, NY 10005


                  Gus Berthold Electric Co.
                  1900 W Carroll Ave.
                  Chicago, IL 60612


                  Headway Capital
                  175 W Jackson Blvd Suite 1000
                  Chicago, IL 60604


                  Honeywell Building Solutions
                  95 E. Algonquin Road, Building D
                  Des Plaines, IL 60017


                  Interstate Powersystems NW
                  7244 Po Box 1450
                  Minneapolis, MN 55485-7244


                  Joseph Shake
                  2180 Clearview Dr. Hollister
                  Hollister, CA 95023


                  Kapitus
                  120 W 45th St.
                  New York, NY 10036


                  Leaf Capital Funding, LLC
                  2005 Market St., 14th Floor
                  Philadelphia, PA 19103
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                  Lieberman and Klestzick LLP
                  1915 Hollywood Blcvd., Suite 200B
                  Hollywood, FL 33020


                  Maddock Industries Inc
                  601a Country Club Drive
                  Bensenville, IL 60106


                  Mason Capital Group
                  560 Sylvan Ave. Ste. 3020
                  Englewood Cliffs, NJ 07632


                  Merceds-Benz Financial Services
                  P.O. Box 5209
                  Carol Stream, IL 60197


                  Netsphere
                  750 W Lake Cook Rd., Suite 158
                  Buffalo Grove, IL 60089


                  Old Plank Trail Community Bank, N.A
                  280 VETERANS PARKWAY
                  New Lenox, IL 60451


                  OnDeck Capital, inc.
                  4700 W Daybreak Pkwy. Suite 200
                  South Jordan, UT 84009


                  Robert Yanowsky
                  15230 W 139th St.
                  Dolton, IL 60419


                  Rodney Thompson
                  17348 Highwood Dr.
                  Orland Park, IL 60467


                  Rodney Thompson
                  11535 W. 183rd Place
                  Orland Park, IL 60467


                  Ross Video Inc.
                  808 Commerce Park
                  Ogdensburg, NY 13669
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                  Selective Insurance
                  P.O. Box 371468
                  Pittsburgh, PA 15250


                  Steiner Electric Co.
                  2665 Paysphere Circle
                  Chicago, IL 60674-0026


                  Sunrise Electric Supply
                  130 S Addison Rd
                  Addison, IL 60101


                  Superfleet (Mastercard)
                  P.O. Box 70995
                  Charlotte, NC 28272


                  Thomas Sales Inc.
                  7200 W 66th, Suite A
                  Chicago, IL 60638


                  Thompson Electronics
                  905 S Bosch Road
                  Peoria, IL 61607


                  U.S. Small Business Administration
                  P.O. Box 3918
                  Portland, OR 97208


                  Viking Electric
                  Po Box 856832
                  Minneapolis, MN 55485-6832


                  Waste Management
                  P.O. Box 4648
                  Carol Stream, IL 60197


                  Yehuda Jay Klein, Esq.
                  350 Fifth Avenue, 59th Floor
                  New York, NY 10118


                  Zonatherm Products, Inc
                  875 Busch Parkway
                  Buffalo Grove, IL 60089
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                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Express Electric Supply, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 17, 2023                               /s/ Ariel Weissberg
Date                                             Ariel Weissberg 03125591
                                                 Signature of Attorney or Litigant
                                                 Counsel for Express Electric Supply, LLC
                                                 Weissberg and Associates, Ltd.
                                                 125 South Wacker Drive
                                                 Suite 300
                                                 Chicago, IL 60606
                                                 312-663-0004 Fax:312-663-1514
                                                 ariel@weissberglaw.com
